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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

IN RE: DUPUY ORTHOPAEDICS, INC.
JOHNSON & JOHNSON SERVICES, INC., '
PINNACLE HIP IMPLANT PRODUCT Civil Action No.: 3:11-MD-2244-K
LIABILITY LITIGATION

 

HONORABLE ED KINKEADE

This Document Relates To:
Edward J. Miller

MOTION TO WITHDRAW AS ATTORNEY OF RECORD WITOUT SUBSTITUTION FOR
PLAINTIFF EDWARD MILLER

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, James R. Moriarty, Movant, pursuant to Rule 74 of the Federal Rules of
Civil Procedure, and moves this Honorable Court to allow James R. Moriarty to withdraw as
attorney of record for Plaintiff Edward J. Miller and for an Order permitting Withdrawal as
Attorney, allowing Plaintiff ninety (90) days to find alternative counsel, and would respectfully
show unto the Court and in support therefore state as follows:

I.

Plaintiff has ignored the advice of counsel. Movant cannot continue to represent Plaintiff
whom has expressed dissatisfaction of Movant’s legal representation on his case, and has
threatened to sue Movant.

Plaintiff has refused to signed this Motion to Withdraw as Attorney of Record, allowing

counsel to withdraw, although he has repeatedly expressed dissatisfaction with the outcome of his

case.

 
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Il.

Plaintiff has refused to adhere to the advice and recommendations of Movant on the matters
in which Plaintiff hired James R. Moriarty to represent him. Plaintiff has unrealistic expectations
with regards to his claim and he has been calling and harassing Defendant Johnson & Johnson,
directly. It is imperative that Plaintiff be in agreement with Plaintiffs attorney.

Ul.

A copy of this motion has been delivered to Plaintiff notifying him of his right to object.

The notification is further evidence by the letter to the client.
IV.

The last known address and telephone numbers of Plaintiff is 3005 Paula Avenue South,

Lehigh Acres, Florida 33976, (239) 895-4021, or (765) 969-7059.
V.

This motion is sought in good faith and is not made for purposes of delay, but in order that
justice may be served.

WHEREFORE, The Movant now prays for an Order permitting Withdrawal as Attorney,
allowing Plaintiff ninety (90) days to find alternative counsel to which justices may be served.

Respectfully submitted,
FE

James R. Moriarty

TBN:44459000

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Houston, Texas 77006

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Motion to Withdraw as Attorney has been
forwarded to all interested parties involved via electronic service, US mail service, certified mail,
fax and/or hand delivered this 19" day of July, 2019. a

we
Zz
